Case 1:22-cv-00432-MAC Document 1-1 Filed 09/02/22 Page 1 of 15 PageID  #:and10E-Filed for Record
                                                                 Received
                                                                                                7/5/2022 2:03 PM
                                                                                        Melisa Miller, District Clerk
                                                                                       Montgomery County, Texas
                                                                                      Deputy Clerk, Patricia Morrill

                                 CAUSE NO.
                                 CAUSE NO. ____________
                                           22-07-08577

Darwin Durisseau,
Darwin Durisseau,                           §
                                            §            IN THE
                                                         IN        DISTRICT COURT
                                                            THE DISTRICT         COURT OF   OF
                                            §
                                            §
       Plaintiff,
       Plaintiff;                           § Montgomery County - 284th Judicial District Court
                                            §
                                            §
                                            §
v.
v.                                          §
                                            §
                                            §
                                            §         MONTGOMERY COUNTY,
                                                      MONTGOMERY           COUNTY, TEXAS   TEXAS
                                            §
                                            §
Union Tank
Union      Car Company;
      Tank Car Company;                     §
                                            §
                                            §
                                            §
       Defendant.
       Defendant.                           §
                                            §             ______ JUDICIAL        DISTRICT
                                                                   JUDICIAL DISTRICT

                          PLAINTIFF’S ORIGINAL
                          PLAINTIFF'S ORIGINAL PETITION
                                               PETITION

       COMES NOW,
       COMES NOW, Plaintiff
                  Plaintiff Darwin
                            Darwin Durisseau,
                                   Durisseau, complaining of Defendants
                                              complaining of Defendants Union
                                                                        Union Tank
                                                                              Tank

Car Company
Car Company ("Defendants");
            (“Defendants”); and
                            and for cause of
                                for cause of action
                                             action would
                                                    would respectfully
                                                          respectfully show
                                                                       show the
                                                                            the Court
                                                                                Court the
                                                                                      the

following:
following:

                                                I.
                                                I.


                                      DISCOVERY LEVEL
                                      DISCOVERY LEVEL

       1.
       1.      Discovery in
               Discovery in this
                            this matter
                                 matter may
                                        may be
                                            be conducted
                                               conducted under
                                                         under Level 2 of
                                                               Level 2 of the
                                                                          the Texas Rules of
                                                                              Texas Rules of

Civil Procedure.
Civil Procedure.

                                                II.
                                                II.


                                  JJURISDICTION
                                    URISDICTION AND VENUE
                                                AND VENUE

       2.
       2.      This action is
               This action is being
                              being brought
                                    brought against
                                            against Defendants
                                                    Defendants pursuant
                                                               pursuant to
                                                                        to the
                                                                           the provisions
                                                                               provisions of
                                                                                          of

the Federal
the Federal Employers'
            Employers’ Liability Act ("FELA"),
                       Liability Act (“FELA”), Title 45 U.S.
                                               Title 45 U.S. Code,
                                                             Code, Section
                                                                   Section 51 et seq.
                                                                           51 et seq.

       3.
       3.      Jurisdiction is proper
               Jurisdiction is proper pursuant
                                      pursuant to
                                               to FELA,
                                                  FELA, Title
                                                        Title 45
                                                              45 U.S.
                                                                 U.S. Code,
                                                                      Code, Section
                                                                            Section 15.018
                                                                                    15.018

because aa substantial
because    substantial part
                       part of
                            of the
                               the events
                                   events giving
                                          giving rise
                                                 rise to
                                                      to the
                                                         the claim
                                                             claim occurred
                                                                   occurred in
                                                                            in Cleveland,
                                                                               Cleveland, Texas.
                                                                                          Texas.

       4.
       4.      It is
               It    well-settled that
                  is well-settled that FELA
                                       FELA cases are not
                                            cases are not removable
                                                          removable to
                                                                    to federal court. See
                                                                       federal court.     28
                                                                                      See 28

U.S.C. §
U.S.C. § 1445(a) (“A civil
         1445(a) ("A civil action
                           action in any State
                                  in any State court against aa railroad
                                               court against             […] arising
                                                                railroad [...] arising under
                                                                                       under [the
                                                                                             [the




                                                                            EXHIBIT A
                                                                            EXHIBIT A
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FELA] may
FELA] may not
          not be
              be removed
                 removed to
                         to any
                            any district
                                district court
                                         court of
                                               of the
                                                  the United
                                                      United States.”).
                                                             States.").

       5.
       5.     Venue is
              Venue is proper
                       proper because
                              because aa substantial
                                         substantial part
                                                     part of
                                                          of the
                                                             the events
                                                                 events or
                                                                        or omissions
                                                                           omissions giving
                                                                                     giving rise
                                                                                            rise

to the
to the claim
       claim occurred
             occurred in Montgomery County.
                      in Montgomery County. CIV.
                                            CIV. PRAC.
                                                 PRAC. &
                                                       & REM.
                                                         REM. CODE
                                                              CODE §
                                                                   § 15.002
                                                                     15.002

                                                 III.
                                                 III.

                                           PARTIES
                                           PARTIES

       6.
       6.     Plaintiff Darwin Durisseau
              Plaintiff Darwin Durisseau is
                                         is aa citizen
                                               citizen resident
                                                       resident of
                                                                of the
                                                                   the State of Texas.
                                                                       State of Texas.

       7.
       7.     Defendants Union Tank
              Defendants Union Tank Car
                                    Car Company
                                        Company are
                                                are aa Delaware
                                                       Delaware corporation
                                                                corporation with
                                                                            with its
                                                                                 its

principal place
principal place of
                of business
                   business and
                            and headquarters
                                headquarters in
                                             in Cook
                                                Cook County,
                                                     County, Illinois. Defendants conduct
                                                             Illinois. Defendants conduct aa

substantial amount
substantial amount of
                   of business
                      business in
                               in Texas, and is
                                  Texas, and is amenable
                                                amenable to
                                                         to process
                                                            process in
                                                                    in Texas. Defendants
                                                                       Texas. Defendants

Union Tank
Union      Car Company
      Tank Car Company may
                       may be
                           be served
                              served with
                                     with process
                                          process through
                                                  through its
                                                          its registered agent, United
                                                              registered agent, United

States Corporation
States Corporation Co., at 211
                   Co., at 211 E. 7th Street
                               E. 7th Street Suite
                                             Suite 620,
                                                   620, Austin,
                                                        Austin, Texas
                                                                Texas 78701-3218.
                                                                      78701-3218.

                                                 IV.
                                                 IV.

                                             FACTS
                                             FACTS

       8.
       8.     On or
              On or about
                    about November
                          November 20,
                                   20, 2020,
                                       2020, while
                                             while working
                                                   working within
                                                           within the
                                                                  the course
                                                                      course and
                                                                             and scope
                                                                                 scope of
                                                                                       of

his duties
his duties in
           in furtherance of interstate
              furtherance of interstate commerce
                                        commerce as
                                                 as aa switchman
                                                       switchman for Defendants at
                                                                 for Defendants at Union
                                                                                   Union

Tank’s trainyard in
Tank's trainyard in Cleveland,
                    Cleveland, Texas, Plaintiff was
                               Texas, Plaintiff was severely
                                                    severely injured
                                                             injured when
                                                                     when aa train
                                                                             train grading
                                                                                   grading

flipped and threw
flipped and threw him
                  him several
                      several feet in the
                              feet in the air.
                                          air.

       9.
       9.     The incident was
              The incident was aa direct
                                  direct result
                                         result of
                                                of the
                                                   the Defendants'
                                                       Defendants’ negligence.
                                                                   negligence.

       10.
       10.    As aa result
              As    result of
                           of this
                              this incident, Plaintiff sustained
                                   incident, Plaintiff sustained severe
                                                                 severe injuries to his
                                                                        injuries to his head,
                                                                                        head, neck,
                                                                                              neck,

shoulder, ankle,
shoulder, ankle, wrists,
                 wrists, back,
                         back, and
                               and other
                                   other parts
                                         parts of
                                               of his
                                                  his body.
                                                      body. The
                                                            The injuries and damages
                                                                injuries and damages suffered
                                                                                     suffered

by the
by the Plaintiff
       Plaintiff were
                 were sustained
                      sustained while
                                while engaged
                                      engaged in the course
                                              in the course of
                                                            of his
                                                               his duties and in
                                                                   duties and in furtherance of
                                                                                 furtherance of

interstate commerce
interstate commerce and
                    and directly
                        directly or
                                 or closely and substantially
                                    closely and substantially affecting
                                                              affecting such
                                                                        such commerce.
                                                                             commerce.



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                                                                              EXHIBIT A
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       11.
       11.    Defendants caused
              Defendants caused Plaintiff's
                                Plaintiff’s injuries
                                            injuries by
                                                     by violating
                                                        violating FELA
                                                                  FELA and
                                                                       and related
                                                                           related laws
                                                                                   laws

enacted for
enacted     the safety
        for the safety of
                       of railroad
                          railroad workers.
                                   workers. Because
                                            Because of
                                                    of this
                                                       this statutory
                                                            statutory negligence
                                                                      negligence and
                                                                                 and violation
                                                                                     violation

of the
of the law
       law related to FELA,
           related to FELA, Defendants
                            Defendants are
                                       are legally obligated to
                                           legally obligated to compensate
                                                                compensate Plaintiff
                                                                           Plaintiff for his
                                                                                     for his

injuries.
injuries.

       12.
       12.    Defendants are
              Defendants are liable
                             liable to
                                    to Plaintiff
                                       Plaintiff for
                                                 for failing to provide
                                                     failing to provide Plaintiff
                                                                        Plaintiff aa safe
                                                                                     safe place
                                                                                          place to
                                                                                                to

work, in
work, in violation
         violation of
                   of the
                      the Federal
                          Federal Employer’s Liability Act.
                                  Employer's Liability Act.

       13.
       13.    Plaintiff’s injuries
              Plaintiff's          resulted in
                          injuries resulted in whole
                                               whole or
                                                     or in
                                                        in part
                                                           part from the negligence
                                                                from the negligence and
                                                                                    and gross
                                                                                        gross

negligence of
negligence of the
              the Defendants.
                  Defendants.

                                               V.
                                               V.

                                       C         ACTION
                                        AUSES OF ACTION
                                       CAUSES

   A. Negligence
   A. Negligence under FELA against
                 under FELA against Defendant
                                    Defendant Union
                                              Union Tank
                                                    Tank Car
                                                         Car Company.
                                                             Company.

       14.
       14.    Plaintiff repeats
              Plaintiff repeats and
                                and re-alleges
                                    re-alleges each
                                               each allegation
                                                    allegation contained
                                                               contained above.
                                                                         above.

       15.
       15.    Union Tank
              Union      Car Company
                    Tank Car Company owed
                                     owed aa non-delegable
                                             non-delegable duty
                                                           duty to
                                                                to Plaintiff
                                                                   Plaintiff to
                                                                             to provide
                                                                                provide

him with
him with aa reasonably safe place
            reasonably safe place in
                                  in which
                                     which to
                                           to work
                                              work and
                                                   and appropriate
                                                       appropriate protection
                                                                   protection and
                                                                              and devices
                                                                                  devices to
                                                                                          to

keep him
keep him safe
         safe when
              when working
                   working in hazardous conditions.
                           in hazardous             Union Tank
                                        conditions. Union Tank Car
                                                               Car Company
                                                                   Company also
                                                                           also owed
                                                                                owed aa

duty to
duty to Plaintiff
        Plaintiff to
                  to adequately
                     adequately warn
                                warn him
                                     him concerning
                                         concerning the
                                                    the hazards
                                                        hazards conditions
                                                                conditions on
                                                                           on the
                                                                              the worksite
                                                                                  worksite

which led
which led to
          to his
             his injuries
                 injuries on
                          on or
                             or about
                                about November
                                      November 20,
                                               20, 2020
                                                   2020 so
                                                        so that
                                                           that Plaintiff
                                                                Plaintiff could
                                                                          could appropriately
                                                                                appropriately

protect himself
protect himself from those hazardous
                from those hazardous condition,
                                     condition, of
                                                of which
                                                   which Plaintiff
                                                         Plaintiff was
                                                                   was ignorant
                                                                       ignorant and
                                                                                and Union
                                                                                    Union

Tank Car Company
Tank Car Company should
                 should have
                        have known.
                             known.

       16.
       16.    Defendants violated
              Defendants violated the
                                  the aforesaid
                                      aforesaid duties
                                                duties and
                                                       and were
                                                           were negligent,
                                                                negligent, and
                                                                           and grossly
                                                                               grossly

negligent for
negligent     the following
          for the           reasons:
                  following reasons:

              a.
              a.     Failing to
                     Failing to provide
                                provide Plaintiff
                                        Plaintiff with
                                                  with aa safe
                                                          safe place
                                                               place to
                                                                     to work;
                                                                        work;


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                                                                             EXHIBIT A
                                                                             EXHIBIT A
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             b.
             b.     Failing to
                    Failing to properly
                               properly inspect,
                                        inspect, maintain
                                                 maintain and
                                                          and repair
                                                              repair its
                                                                     its premises;
                                                                         premises;

             c.
             c.     Failing to
                    Failing to properly
                               properly inspect,
                                        inspect, maintain,
                                                 maintain, and
                                                           and repair
                                                               repair its
                                                                      its equipment;
                                                                          equipment;

             d.
             d.     Failing to
                    Failing to warn
                               warn about
                                    about unreasonably
                                          unreasonably dangerous
                                                       dangerous conditions
                                                                 conditions at
                                                                            at work;
                                                                               work;

             e.
             e.     Failing to
                    Failing to make
                               make unreasonably
                                    unreasonably dangerous
                                                 dangerous conditions
                                                           conditions at
                                                                      at the
                                                                         the worksite
                                                                             worksite safe;
                                                                                      safe;

             f.
             f.     Failing to
                    Failing to follow safe management
                               follow safe management practices
                                                      practices with
                                                                with the
                                                                     the goal
                                                                         goal of
                                                                              of providing
                                                                                 providing

                    Plaintiff aa safe
                    Plaintiff    safe work
                                      work environment;
                                           environment;

             g.
             g.     Failing to
                    Failing to provide
                               provide adequate
                                       adequate equipment;
                                                equipment;

             h.
             h.     Failing to
                    Failing to adequately
                               adequately protect
                                          protect Plaintiff
                                                  Plaintiff from dangerous conditions;
                                                            from dangerous conditions;

             i.
             i.     Failing to
                    Failing to test
                               test or
                                    or properly
                                       properly evaluate
                                                evaluate the
                                                         the conditions,
                                                             conditions, premises
                                                                         premises and
                                                                                  and

                    equipment with
                    equipment with which
                                   which he
                                         he was
                                            was required
                                                required to
                                                         to work;
                                                            work;

             j.
             j.     Failing to
                    Failing to adopt
                               adopt and
                                     and enforce
                                         enforce proper
                                                 proper rules,
                                                        rules, regulations,
                                                               regulations, and
                                                                            and procedures
                                                                                procedures

                    concerning work
                    concerning work maintenance,
                                    maintenance, inspection
                                                 inspection and
                                                            and repair
                                                                repair of
                                                                       of the
                                                                          the premises,
                                                                              premises,

                    equipment and
                    equipment and conditions;
                                  conditions;

             k.
             k.     Deviating from
                    Deviating      standard practices
                              from standard practices and
                                                      and procedures;
                                                          procedures;

             l.
             1.     violating applicable
                    violating applicable Federal
                                         Federal Railroad
                                                 Railroad Administration,
                                                          Administration, Occupational
                                                                          Occupational

                    Safety and Health
                    Safety and Health Administration
                                      Administration standards;
                                                     standards;

             m.
             m.     vicariously liable
                    vicariously liable for its employees'
                                       for its employees’ and/or
                                                          and/or agents'
                                                                 agents’ negligence;
                                                                         negligence; and
                                                                                     and

             n.
             n.     other acts
                    other acts deemed
                               deemed negligent
                                      negligent and
                                                and grossly negligent.
                                                    grossly negligent.

      17.
      17.    All of
             All of Plaintiff's
                    Plaintiff’s claims as set
                                claims as set for
                                              for in this Complaint,
                                                  in this Complaint, pursuant
                                                                     pursuant to
                                                                              to 45
                                                                                 45 U.S.C.
                                                                                    U.S.C.

Section
Section 51, et seq.,
        51, et       are brought
               seq., are brought within
                                 within three
                                        three years
                                              years from the day
                                                    from the day these
                                                                 these causes
                                                                       causes of
                                                                              of action
                                                                                 action

accrued—pursuant to
accrued—pursuant to 45
                    45 U.S.C.
                       U.S.C. Section
                              Section 56.
                                      56.




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                                                                         EXHIBIT A
                                                                         EXHIBIT A
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       18.
       18.     Plaintiff is
               Plaintiff is also
                            also entitled to punitive
                                 entitled to punitive damages
                                                      damages because
                                                              because the
                                                                      the aforementioned
                                                                          aforementioned actions
                                                                                         actions

of the
of the Defendants
       Defendants were
                  were grossly
                       grossly negligent. Defendants’ actions
                               negligent. Defendants' actions and
                                                              and inactions
                                                                  inactions were
                                                                            were done
                                                                                 done with
                                                                                      with

aa reckless
   reckless disregard
            disregard and
                      and conscious
                          conscious indifference
                                    indifference to
                                                 to the
                                                    the rights
                                                        rights of
                                                               of Plaintiff.
                                                                  Plaintiff. As
                                                                             As such,
                                                                                such, Plaintiff
                                                                                      Plaintiff is
                                                                                                is

entitled to
entitled to exemplary
            exemplary damages. Defendants acted
                      damages. Defendants acted with
                                                with flagrant and malicious
                                                     flagrant and malicious disregard of
                                                                            disregard of

Plaintiff’s health
Plaintiff's health and
                   and safety.
                       safety. Defendants
                               Defendants were
                                          were subjectively
                                               subjectively aware
                                                            aware of
                                                                  of the
                                                                     the extreme
                                                                         extreme risk
                                                                                 risk posed
                                                                                      posed by
                                                                                            by

the conditions
the            which caused
    conditions which        Plaintiff’s injuries,
                     caused Plaintiff's           but did
                                        injuries, but did nothing
                                                          nothing to
                                                                  to rectify
                                                                     rectify them.
                                                                             them. Instead,
                                                                                   Instead,

Defendants had
Defendants had Plaintiff
               Plaintiff and
                         and other
                             other crew
                                   crew members
                                        members continue working despite
                                                continue working despite the
                                                                         the dangerous
                                                                             dangerous

conditions that
conditions that were
                were posed
                     posed to
                           to them.
                              them. Defendants
                                    Defendants did so knowing
                                               did so         that the
                                                      knowing that the conditions posed
                                                                       conditions posed

dangerous and
dangerous and grave
              grave safety
                    safety concerns.
                           concerns. Defendants'
                                     Defendants’ acts
                                                 acts and
                                                      and omissions
                                                          omissions involved
                                                                    involved and
                                                                             and extreme
                                                                                 extreme

degree of
degree of risk
          risk considering the probability
               considering the probability and
                                           and magnitude
                                               magnitude of
                                                         of potential
                                                            potential harm
                                                                      harm to
                                                                           to Plaintiff.
                                                                              Plaintiff.

Defendants had
Defendants had actual,
               actual, subjective
                       subjective awareness
                                  awareness of
                                            of the
                                               the risk,
                                                   risk, and
                                                         and consciously
                                                             consciously disregarded
                                                                         disregarded such
                                                                                     such risk
                                                                                          risk

by allowing
by allowing Plaintiff
            Plaintiff to
                      to work
                         work under
                              under such
                                    such dangerous conditions.
                                         dangerous conditions.

       19.
       19.     Plaintiff’s injuries
               Plaintiff's          are severely
                           injuries are severely painful,
                                                 painful, disfiguring,
                                                          disfiguring, and
                                                                       and debilitating.
                                                                           debilitating. They
                                                                                         They harm
                                                                                              harm

the quality
the         of his
    quality of his life and have
                   life and have required both past
                                 required both past and
                                                    and future medical treatment.
                                                        future medical treatment. These
                                                                                  These injuries
                                                                                        injuries

are permanent.
are permanent. They have impaired
               They have impaired Plaintiff's
                                  Plaintiff’s ability
                                              ability to
                                                      to work
                                                         work and
                                                              and he
                                                                  he has
                                                                     has lost
                                                                         lost income because
                                                                              income because

of them.
of them. Plaintiff
         Plaintiff has
                   has suffered,
                       suffered, and
                                 and will
                                     will continue
                                          continue to
                                                   to suffer,
                                                      suffer, other
                                                              other damages
                                                                    damages as
                                                                            as aa result
                                                                                  result of
                                                                                         of the
                                                                                            the

injuries described
injuries described above.
                   above. In
                          In this
                             this lawsuit,
                                  lawsuit, he
                                           he claims
                                              claims compensation
                                                     compensation for all injuries
                                                                  for all injuries and
                                                                                   and damages
                                                                                       damages

recoverable under
recoverable under FELA,
                  FELA, whether
                        whether or
                                or not
                                   not specifically
                                       specifically alleged.
                                                    alleged.

       20.
       20.     As aa direct
               As    direct and
                            and proximate
                                proximate result
                                          result of
                                                 of Defendants'
                                                    Defendants’ negligence,
                                                                negligence, Plaintiff
                                                                            Plaintiff suffered
                                                                                      suffered

serious injuries,
serious injuries, including
                  including bodily
                            bodily injury resulting in
                                   injury resulting in pain
                                                       pain and
                                                            and suffering,
                                                                suffering, disability, mental
                                                                           disability, mental

anguish, loss
anguish, loss of
              of capacity
                 capacity for the enjoyment
                          for the enjoyment of
                                            of life,
                                               life, pharmaceutical
                                                     pharmaceutical and
                                                                    and medical
                                                                        medical expenses,
                                                                                expenses, loss
                                                                                          loss

of earnings,
of           and loss
   earnings, and loss of
                      of future earning capacity.
                         future earning capacity. The
                                                  The losses are permanent
                                                      losses are permanent and
                                                                           and continuing
                                                                               continuing in
                                                                                          in

nature. Plaintiff
nature. Plaintiff will
                  will continue
                       continue to
                                to suffer
                                   suffer these
                                          these losses in the
                                                losses in the future.
                                                              future.
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                                                                             EXHIBIT A
                                                                             EXHIBIT A
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       21.
       21.    As aa result
              As    result of
                           of said
                              said occurrence,
                                   occurrence, Plaintiff
                                               Plaintiff suffered
                                                         suffered severe
                                                                  severe injury
                                                                         injury to
                                                                                to his
                                                                                   his body
                                                                                       body and
                                                                                            and

mind. His
mind. His earning
          earning capacity
                  capacity has been severely
                           has been severely diminished if not
                                             diminished if not eliminated
                                                               eliminated altogether.
                                                                          altogether. Further,
                                                                                      Further,

he has
he has incurred substantial medical
       incurred substantial medical and
                                    and pharmaceutical
                                        pharmaceutical costs.
                                                       costs.

       22.
       22.    Further, Plaintiff
              Further, Plaintiff sustained
                                 sustained severe
                                           severe injuries
                                                  injuries to
                                                           to his
                                                              his body
                                                                  body and
                                                                       and mind,
                                                                           mind, which
                                                                                 which resulted
                                                                                       resulted

in physical
in physical pain,
            pain, mental
                  mental anguish,
                         anguish, and
                                  and other
                                      other medical
                                            medical problems.
                                                    problems. Plaintiff
                                                              Plaintiff has
                                                                        has sustained
                                                                            sustained severe
                                                                                      severe

pain, physical
pain, physical impairment,
               impairment, cognitive injury, discomfort,
                           cognitive injury, discomfort, mental
                                                         mental anguish,
                                                                anguish, and
                                                                         and distress.
                                                                             distress. In
                                                                                       In all
                                                                                          all

reasonable probability,
reasonable probability, Plaintiff's
                        Plaintiff’s physical
                                    physical pain,
                                             pain, physical
                                                   physical impairment,
                                                            impairment, cognitive injury and
                                                                        cognitive injury and

mental anguish
mental anguish will
               will continue indefinitely. Plaintiff
                    continue indefinitely. Plaintiff has
                                                     has also
                                                         also suffered
                                                              suffered aa loss
                                                                          loss of
                                                                               of earnings
                                                                                  earnings in
                                                                                           in the
                                                                                              the

past, as
past, as well
         well as
              as aa loss of future
                    loss of        earning capacity.
                            future earning capacity. Plaintiff
                                                     Plaintiff has
                                                               has incurred
                                                                   incurred and
                                                                            and will
                                                                                will incur
                                                                                     incur

pharmaceutical and
pharmaceutical and medical
                   medical expenses
                           expenses in connection with
                                    in connection with his
                                                       his injuries. Plaintiff has
                                                           injuries. Plaintiff has been
                                                                                   been

damaged in
damaged in aa sum
              sum far in excess
                  far in        of the
                         excess of the minimum
                                       minimum jurisdictional
                                               jurisdictional limits
                                                              limits of
                                                                     of this
                                                                        this Honorable
                                                                             Honorable Court,
                                                                                       Court,

for which he
for which he now
             now sues.
                 sues.

                                              VI.
                                              VI.


                                   JURY T
                                   JURY       DEMANDED
                                         RIAL DEMANDED
                                        TRIAL

       23.
       23.    Plaintiff hereby
              Plaintiff hereby demands
                               demands aa trial
                                          trial by
                                                by jury.
                                                   jury.

                                              VII.
                                              VII.


                                            P RAYER
                                            PRAYER

       24.
       24.    Plaintiff prays
              Plaintiff prays that
                              that this
                                   this citation
                                        citation issue and be
                                                 issue and be served
                                                              served upon
                                                                     upon Defendants
                                                                          Defendants in
                                                                                     in aa form
                                                                                           form

and manner
and manner prescribed
           prescribed by
                      by law,
                         law, requiring
                              requiring Defendants
                                        Defendants appear
                                                   appear and
                                                          and answer,
                                                              answer, and
                                                                      and that
                                                                          that upon
                                                                               upon final
                                                                                    final

hearing, Plaintiff
hearing, Plaintiff has
                   has judgment
                       judgment against
                                against Defendants
                                        Defendants in
                                                   in aa total
                                                         total sum
                                                               sum in
                                                                   in excess
                                                                      excess of
                                                                             of the
                                                                                the minimum
                                                                                    minimum

jurisdictional limits
jurisdictional        of this
               limits of this Court,
                              Court, plus
                                     plus pre-judgment
                                          pre-judgment and
                                                       and post
                                                           post-judgment interests, all
                                                                judgment interests, all costs
                                                                                        costs of
                                                                                              of

Court, and
Court, and all
           all such
               such other
                    other relief
                          relief to
                                 to which
                                    which Plaintiff
                                          Plaintiff shows
                                                    shows himself
                                                          himself justly
                                                                  justly entitled.
                                                                         entitled. As
                                                                                   As required
                                                                                      required by
                                                                                               by



                                               66

                                                                            EXHIBIT A
                                                                            EXHIBIT A
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Rule 47
Rule 47 of
        of the
           the Texas Rules of
               Texas Rules of Civil
                              Civil Procedure,
                                    Procedure, Plaintiff
                                               Plaintiff affirmatively
                                                         affirmatively states
                                                                       states that
                                                                              that he
                                                                                   he seeks
                                                                                      seeks

damages in
damages in excess of $1,000,000
           excess of $1,000,000 and
                                and prays
                                    prays for relief and
                                          for relief and judgment,
                                                         judgment, as
                                                                   as follows:
                                                                      follows:

              damages recoverable
           •• damages recoverable under
                                  under FELA,
                                        FELA,
              Compensatory damages
           •• Compensatory         against Defendants;
                           damages against Defendants;
              Past and
           •• Past and future medical expenses;
                       future medical expenses;
              Actual damages;
           •• Actual damages;
              Consequential damages;
           •• Consequential damages;
              Past lost
           •• Past lost wages;
                        wages;
              Past and
           •• Past and future disfigurement;
                       future disfigurement;
              Loss of
           •• Loss of earning
                      earning capacity
                              capacity in the future;
                                       in the future;
              Pain and
           •• Pain and suffering;
                       suffering;
              Exemplary damages;
           •• Exemplary damages;
              Past and
           •• Past and future mental anguish;
                       future mental anguish;
              Past and
           •• Past and future impairment;
                       future impairment;
              Interest on
           •• Interest on damages
                          damages (pre-
                                  (pre- and
                                        and post-judgment)
                                            post-judgment) in
                                                           in accordance
                                                              accordance with
                                                                         with law;
                                                                              law;
              Plaintiff’s reasonable
           •• Plaintiff's reasonable attorneys'
                                     attorneys’ fees;
                                                fees;
              Costs of
           •• Costs of court;
                       court;
           •• Expert witness fees;
              Expert witness fees;
              Costs of
           •• Costs of copies
                       copies of
                              of depositions; and
                                 depositions; and
           •• Such other and
              Such other and further relief as
                             further relief as the
                                               the Court
                                                   Court may
                                                         may deem
                                                             deem just
                                                                  just and
                                                                       and proper.
                                                                           proper.

                                                     Respectfully Submitted,
                                                     Respectfully Submitted,

                                                     ARNOLD &
                                                     ARNOLD   ITKIN LLP
                                                            & ITKIN LLP

                                                     /s/ Trent
                                                     /s/       Shelton
                                                         Trent Shelton
                                                     Jason
                                                     Jason AA. Itkin
                                                               Itkin
                                                     Texas
                                                     Texas State  Bar No.
                                                            State Bar No. 24032461
                                                                          24032461
                                                     Noah M.
                                                     Noah   M. Wexler
                                                               Wexler
                                                     Texas State
                                                     Texas        Bar No.
                                                            State Bar No. 24060816
                                                                          24060816
                                                     Ben Bireley
                                                     Ben  Bireley
                                                     Texas State
                                                     Texas        Bar No.
                                                            State Bar No. 24076086
                                                                          24076086
                                                     Trent Shelton
                                                     Trent  Shelton
                                                     Texas State
                                                     Texas        Bar No.
                                                            State Bar No. 24121119
                                                                          24121119

                                                77

                                                                           EXHIBIT A
                                                                           EXHIBIT A
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                                         6009  Memorial Drive
                                         6009 Memorial   Drive
                                         Houston, Texas
                                         Houston, Texas 77007
                                                         77007
                                         Telephone:  (713) 222-3800
                                         Telephone: (713)  222-3800
                                         Facsimile: (713)
                                         Facsimile: (713) 222-3850
                                                          222-3850
                                         jitkin@ArnoldItkin.com
                                         jitkin@ArnoldItkin.com
                                         nwexler@ArnoldItkin.com
                                         nwexler@ArnoldItkin.com
                                         bbireley@ArnoldItkin.com
                                         bbireley@ArnoldItkin.com
                                         tshelton@ArnoldItkin.com
                                         tshelton@ArnoldItkin.com
                                         e-service@ArnoldItkin.com
                                         e-service@ArnoldItkin.com

                                         ATTORNEYS FOR
                                         ATTORNEYS FOR PLAINTIFF
                                                       PLAINTIFF




                                     8
                                     8


                                                               EXHIBIT A
                                                               EXHIBIT A
        Case 1:22-cv-00432-MAC Document 1-1 Filed 09/02/22 Page 9 of 15 PageID  #:and18E-Filed for Record
                                                                         Received
                                                                                                               7/5/2022 2:03 PM

                                  Montgomery County
                                             County District
                                                    District Clerk
                                                             Clerk
                                                                                                       Melisa Miller, District Clerk
                                  Montgomery                                                          Montgomery County, Texas
                                                                                                     Deputy Clerk, Patricia Morrill
                                     Request for
                                     Request for Issuancem?
                                                 IssuanceMontgomery
                                                          or Service
                                                           )AjAryice
                                                                ery uounty
                                                                    County - 284th Judicial District Court
                 22-07-08577
CASE NUMBER:
CASE NUMBER: _______________________ CURRENT
                                     CURRENT COURT:
                                             COURT: ________________________________________

Name(s) of
Name(s) of Documents
           Documents to
                     to be
                        be served:
                           served: _____________________________________________________________
                                   Plaintiffs
                                   Plaintiff's Original Petition
_____________________________________________________________________________________________
FILE DATE(S)
FILE DATE(S) of of document(s)
                   document(s) toto be
                                     be served:
                                        served: ______________________
                                                 7/5/22
                                                 7/5/22                    Month/Day/Year
                                                                           Month/Day/Year
SERVICE TO
SERVICE    TO BE  ISSUED ON
               BE ISSUED  ON (Please
                               (Please List
                                        List Exactly
                                             Exactly as
                                                     as The
                                                        The Name  Appears in
                                                            Name Appears  in The
                                                                             The Pleading
                                                                                 Pleading to
                                                                                          to Be
                                                                                             Be Served):
                                                                                                Served):
Issue Service
Issue  Service to:
                to: _______________________________________________________________________________
                    Union Tank   Car Company
Address of
Address    of Service:_____________________________________________________________________________
              Service:211
                       211 E. 7th Street, Suite 620
City, State
City, State && Zip:
                Zip: ______________________________________________________________________________
                     Austin, Texas 78701
Agent (if
Agent   (if applicable):
            applicable): ___________________________________________________________________________
                         United States Corporation Co.
         Check here
         Check   here to
                      to have
                         have citation
                               citation addressed
                                         addressed toto wherever
                                                        wherever the
                                                                 the addressee
                                                                     addressee may
                                                                               may be
                                                                                    be found.
                                                                                       found.
TYPE OF
TYPE OF SERVICE/PROCESS
        SERVICE/PROCESS TO
                        TO BE
                           BE ISSUED:
                              ISSUED: (Check
                                      (Check the
                                             the appropriate
                                                 appropriate box)
                                                             box)
    Citation (Personal
 ✔ Citation    (Personal Service)
                          Service)        Secretary of
                                       ❑ Secretary  of St./Hwy
                                                        St./Hwy Commission/Commissioner
                                                                 Commission/Commissioner of    of Ins.
                                                                                                  Ins. ($12.00)
                                                                                                       ($12.00)
    Citation by
 ❑ Citation    by Posting
                  Posting                 Capias —Law
                                       ❑ Capias  –Law enforcement
                                                        enforcement ID ID Sheet
                                                                          Sheet Required
                                                                                Required
    Citation by
 EICitation    by Publication
                  Publication             Temporary Restraining
                                          Temporary    Restraining Order
                                                                    Order (Family)
                                                                           (Family)
    Citation   – Scire Facias
 ❑ Citation — Scire Facias                Temporary    Ex Parte Protective  Order/Notc of
                                       ❑ Temporary Ex Parte Protective Order/Notc        of Application
                                                                                            Application for
                                                                                                         for Prot.
                                                                                                             Prot. Order
                                                                                                                   Order
    Subpoena
 ❑ Subpoena                               Writ of
                                       ❑ Writ  of Habeas
                                                  Habeas Corpus/Attachment
                                                           Corpus/Attachment -- Child
                                                                                   Child
    Precept/Show Cause
 ❑ Precept/Show       Cause               Notice of
                                       ❑ Notice  of Foreign
                                                    Foreign Judgment
                                                              Judgment (UCCJEA)
                                                                         (UCCJEA) (by
                                                                                   (by Cert.
                                                                                       Cert. Mail
                                                                                             Mail Service)
                                                                                                  Service)
    Writ of
 ❑ Writ    of Garnishment
              Garnishment             ID  Notice of
                                          Notice of Foreign
                                                    Foreign Judgment
                                                              Judgment (UIFSA)
                                                                         (UIFSA ) (by
                                                                                  (by Regular
                                                                                      Regular Mail)
                                                                                              Mail)
    Writ of
 ❑ Writ    of Sequestration
              Sequestration           D   Precept to
                                          Precept to Serve
                                                      Serve Final
                                                             Final Protective
                                                                   Protective Order
                                                                              Order
    Civil Injunction/TRO
 ❑ Civil  Injunction/TRO                  Other —
                                       ❑ Other  – Please
                                                  Please specify:
                                                           specify: _________________________________________
    Writ of
 ❑ Writ    of Withholding/Notice
              Withholding/Notice ofof Termination
                                      Termination of
                                                   of Child
                                                      Child Support
                                                             Support ($15.00
                                                                      ($15.00 —
                                                                              – Certified
                                                                                Certified Mail
                                                                                          Mail by
                                                                                               by District
                                                                                                   District Clerk
                                                                                                            Clerk Only)
                                                                                                                  Only)

D ISSUANCE
  ISSUANCE TO
           TO BE
              BE RETURNED
                 RETURNED TO
                          TO REQUESTOR
                             REQUESTOR BY:
                                       BY: (Check
                                           (Check the
                                                  the appropriate
                                                      appropriate box.)
                                                                  box.)
         E-Issuance by
      ❑✔ E-Issuance by District
                       District Clerk
                                Clerk (No
                                      (No Service
                                          Service Copy
                                                  Copy Fees
                                                       Fees Charged)
                                                            Charged) (Note:)
                                                                     (Note:) CAPIAS
                                                                             CAPIAS is
                                                                                    is not
                                                                                       not an
                                                                                           an E-Issuance
                                                                                              E-Issuance Option
                                                                                                         Option
    *Citations returned electronically
    *Citations returned  electronically will
                                        will be
                                             be e-served
                                                e-served through
                                                         through E-file
                                                                  E-file Texas
                                                                         Texas to
                                                                               to requesting
                                                                                  requesting attorney/pro
                                                                                             attorney/pro se.
                                                                                                          se.
       ATTORNEY PICK-UP
    ❑ ATTORNEY     PICK-UP (phone
                             (phone or
                                    or email
                                        email contact):
                                               contact): ________________________________________________
    D MAIL
       MAIL to
             to attorney
                attorney at
                          at Attorney
                             Attorney of
                                       of Record's
                                          Record’s address
                                                    address on
                                                            on file
                                                               file in
                                                                    in case
                                                                       case record.
                                                                            record.
     n CIVIL PROCESS
       CIVIL PROCESS SERVER
                       SERVER -- Authorized
                                 Authorized Person
                                              Person to
                                                      to Pick-up:
                                                         Pick-up: __________________Phone:
                                                                                        Phone: _________________
       OTHER, explain:
    ❑ OTHER,    explain:
    _________________________________________________________________________
  SERVICE TO
❑ SERVICE  TO BE
              BE EXECUTED
                 EXECUTED BY BY DISTRICT
                                DISTRICT CLERK
                                          CLERK
     D CERTIFIED
       CERTIFIED MAIL
                 MAIL ❑        REGULAR MAIL
                               REGULAR      available for
                                       MAIL available for Expedited
                                                          Expedited Foreclosures
                                                                    Foreclosures and
                                                                                 and UIFSA
                                                                                     UIFSA Foreign
                                                                                           Foreign Judgments
                                                                                                   Judgments
        PUBLICATION IN
      ❑ PUBLICATION IN NEWSPAPER
                       NEWSPAPER OR
                                 OR OTHER-
                                    OTHER- please
                                           please provide
                                                  provide detailed
                                                          detailed contact
                                                                   contact information
                                                                           information
        PUBLICATION ON
      ❑ PUBLICATION ON OCA
                       OCA WEBSITE
                           WEBSITE ONLY-
                                   ONLY- all
                                         all citations by publication
                                             citations by publication are
                                                                      are published
                                                                          published on
                                                                                    on OCA
                                                                                       OCA website
                                                                                           website
      __________________________________________________________________________________________
      __________________________________________________________________________________________
Issuance of
Issuance of Service
            Service requested
                    requested by:
                              by:
Attorney/Party Name:
Attorney/Party  Name: _______________________________________Bar#
                       Jason Itkin                                or ID:
                                                             Bar# or ID: ______________________
                                                                         24032461
Mailing Address:
Mailing Address: ___________________________________________________________________________
                  6009 Memorial Drive Houston, Texas 77007
Phone Number:
Phone  Number: ___________________________
                 713-222-3800

                                                                                                            Revised 4/8/2022
                                                                                                            Revised 4/8/2022

                                                                                           EXHIBIT A
                                                                                           EXHIBIT A
       Case 1:22-cv-00432-MAC Document 1-1 Filed 09/02/22 Page 10 of 15 PageID #: 19

                                                                 CITATION
                                                                 CITATION
Cause Number: 22-07-08577
Cause Number: 22-07-08577

Clerk of the
Clerk of     Court
         the Court                                                                  Attorney Requesting
                                                                                    Attorney             Service
                                                                                             Requesting Service
Melisa
Melisa Miller
       Miller                                                                       Jason A.
                                                                                    Jason A. Itkin
                                                                                             Itkin
P.O.
P.O. Box  2985
     Box 2985                                                                       6009 Memorial
                                                                                    6009 Memorial DrDr
Conroe,  Texas 77305
Conroe, Texas  77305                                                                Houston TX
                                                                                    Houston   TX 77007
                                                                                                   77007
                                             THE STATE
                                             THE STATE OF TEXAS
                                                       OF TEXAS
NOTICE TO
NOTICE       TO DEFENDANT:
                 DEFENDANT: You     You have
                                         have been    sued. You
                                              been sued.    You may     employ an
                                                                  may employ     an attorney.
                                                                                    attorney. If  you or
                                                                                               If you  or your
                                                                                                          your attorney
                                                                                                                attorney
do not
do  not file a written
        file a written answer   with the
                       answer with       clerk who
                                     the clerk who issued
                                                      issued this
                                                              this citation
                                                                   citation by  10:00 a.m.
                                                                            by 10:00        on the
                                                                                      a.m. on  the Monday
                                                                                                    Monday next
                                                                                                              next
following the
following       expiration of
            the expiration  of twenty
                               twenty days
                                       days after  you were
                                            after you   were served
                                                              served this  citation and
                                                                      this citation       petition, aa default
                                                                                     and petition,     default judgment
                                                                                                               judgment
may
may be
     be taken   against you.
         taken against   you. In  addition to
                               In addition to filing
                                              filing aa written
                                                        written answer    with the
                                                                 answer with        clerk, you
                                                                               the clerk,  you may
                                                                                                may be   required to
                                                                                                      be required  to
make   initial disclosures
make initial   disclosures to
                            to the other parties
                               the other parties of
                                                  of this suit. These
                                                     this suit. These disclosures
                                                                        disclosures generally
                                                                                     generally must
                                                                                                must be    made no
                                                                                                        be made      later
                                                                                                                  no later
than  30 days
than 30  days after  you file
               after you file your
                              your answer
                                    answer with
                                            with the
                                                  the clerk.
                                                       clerk. Find  out more
                                                              Find out         at TexasLawHelp.org.
                                                                         more at  TexasLawHelp.org.

To:
To:     Union Tank
        Union  Tank Car
                     Car Company
                         Company
        Registered  Agent United
        Registered Agent  United States
                                 States Corporation
                                        Corporation Co
                                                    Co
        211 E
        211 E 7th
              7th Street
                  Street
        Suite 620
        Suite 620
        Austin TX
        Austin TX 78701
                    78701


The attached
The  attached Plaintiff's  Original Petition
               Plaintiff's Original          was filed
                                    Petition was       on the
                                                 filed on       5th day
                                                          the 5th       of July,
                                                                    day of July, 2022,
                                                                                 2022, in
                                                                                       in 284th
                                                                                          284th Judicial
                                                                                                Judicial District
                                                                                                         District
Court,  located at
Court, located  at the
                   the Montgomery
                       Montgomery County      Courthouse in
                                     County Courthouse     in Conroe,   Texas, numbered
                                                              Conroe, Texas,                22-07-08577, and
                                                                               numbered 22-07-08577,     and
includes the
includes      following parties:
          the following  parties: Darwin
                                  Darwin Durisseau,
                                          Durisseau, plaintiff(s),
                                                      plaintiff(s), and
                                                                    and Union
                                                                        Union Tank
                                                                               Tank Car    Company,
                                                                                      Car Company,
defendant(s).
defendant(s).

Issued
Issued and given under
       and given under my hand and
                       my hand and seal
                                   seal of
                                        of said
                                           said Court
                                                Court at
                                                      at Conroe, Texas on
                                                         Conroe, Texas on this
                                                                          this the
                                                                               the 7th day of
                                                                                   7th day of July,
                                                                                              July, 2022.
                                                                                                    2022.

                                       o w      iii,1
                                  ,,\0 40NTG
                                          • • • .04,7
                                                  . 46.1//                               Melisa Miller, District
                                                                                         Melisa Miller, District Clerk
                                                                                                                 Clerk
                                   O. • .             . J.. 1;.                          Montgomery
                                                                                         Montgomery County,      Texas
                                                                                                       County Texas

                              =0. -•
                              ::: •
                                                        .. (II:..
                                                          •0C ::         ••              By:_____________________________________
                                                                                         By:
                                                                                         Delcy
                                                                                                       C
                                                                                               Parker, Deputy
                               -.::. t- •                                : -I.:          Delcy Parker,   -puty
                                                                                                                   71712022 9:01:49 AM
                                 ..: 0 .                      •   • ely***/ ...
                                                                             .7";
                                .:::•IS• • .
                                    ...-„, ..• / • • • - • s ,,.....S.
                                     <, •e2n, •
                                              Q
                                                            'A+
                                                              •
                                                                    \\
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                                              1 - Ililiiiii‘ t"




                                                                                                              EXHIBIT A
                                                                                                              EXHIBIT A
        Case 1:22-cv-00432-MAC Document 1-1 Filed 09/02/22 Page 11 of 15 PageID #: 20


                                              OFFICER’S RETURN
                                              OFFICER'S RETURN
Cause  No. 22-07-08577
Cause No.  22-07-08577                         Court No: 284th
                                               Court No: 284th Judicial
                                                               Judicial District
                                                                        District Court
                                                                                 Court
Style:
Style: Darwin
       Darwin Durisseau  vs. Union
              Durisseau vs.  Union Tank
                                   Tank Car
                                         Car Company
                                             Company
To:
To:            Union Tank
               Union  Tank Car
                            Car Company
                                Company
Address:
Address:       Registered  Agent United States
               Registered Agent United  States Corporation
                                               Corporation Co
                                                           Co
               211 E
              211  E 7th
                     7th Street
                         Street
               Suite 620
               Suite 620
               Austin TX
              Austin  TX 78701
                           78701

Came
Came to   hand the
       to hand  the ___day  of ____________,, 20_,
                        day of                  20__, at
                                                      at _______ o'clock,
                                                                 o’clock, and
                                                                          and executed    in _________________ County,
                                                                                executed in                         County,
Texas by
Texas  by delivering
           delivering to each of
                      to each  of the within named
                                  the within named defendants
                                                     defendants in
                                                                in person,
                                                                    person, aa true copy of
                                                                               true copy  of this
                                                                                             this citation with the
                                                                                                  citation with the date
                                                                                                                     date of
                                                                                                                          of
delivery endorsed
delivery endorsed thereon,
                    thereon, together with the
                             together with  the accompanying   copy of
                                                accompanying copy    of the
                                                                        the Plaintiff's
                                                                             Plaintiff's Original
                                                                                         Original Petition
                                                                                                  Petition at
                                                                                                           at the
                                                                                                              the following
                                                                                                                  following
times
times and  places, to
      and places,     wit:
                   to wit:
Name
Name                     Date/Time
                         Date/Time           Place,
                                             Place, Course and distance
                                                    Course and distance from
                                                                        from Courthouse
                                                                             Courthouse
______________           ____________ ________________________________________________________

Manner of
Manner of service:
          service: ________________________________________________________________________

*And not
*And not executed
         executed as to the
                  as to the defendants(s)
                            defendants(s) ____________________________________________________
The
The         diligence
            diligence          used
                               used         in
                                            in        finding
                                                      finding       said
                                                                    said        defendant(s)
                                                                                defendant(s)                          being:
                                                                                                                      being:
_________________________________________________________________________________________
And
And          the
             the         cause
                         cause         of
                                       of       failure
                                                failure        to
                                                               to        execute
                                                                         execute     this
                                                                                     this       process
                                                                                                process                   is:
                                                                                                                          is:
_________________________________________________________________________________________
And information
And  information received
                   received as
                            as to
                               to the whereabouts of
                                  the whereabouts of said
                                                     said defendant(s)
                                                          defendant(s) being:
                                                                       being:
_________________________________________________________________________________________
FEES:
FEES:
Serving
Serving Petition
         Petition and
                  and Copy
                       Copy       $_________
                                  $
                                                             ________________________OFFICER
                                                                                      OFFICER
TOTAL
TOTAL                             $_________
                                                                 ____________________County, Texas
                                                                                     County, Texas
                                                               By: ________________________,, Deputy
                                                               By:                            Deputy

AFFIANT
AFFIANT
Complete
Complete if if you
               you are
                   are a person other
                       a person other than
                                      than a  Sheriff, Constable,
                                            a Sheriff,            or Clerk
                                                       Constable, or        of the
                                                                     Clerk of  the Court.
                                                                                   Court. In
                                                                                           In accordance  with Rule
                                                                                              accordance with        107: the
                                                                                                               Rule 107:  the
officer, or
officer, or authorized   person who
             authorized person   who services,
                                      services, or attempts to
                                                or attempts     serve aa citation
                                                             to serve    citation shall
                                                                                   shall sign
                                                                                         sign and  return. The
                                                                                               and return. The return  must
                                                                                                                return must
either be
either be verified
          verified or
                    or be
                       be signed
                          signed under
                                 under penalty
                                        penalty of
                                                of perjury.
                                                   perjury.

A return
A   return signed
            signed under
                      under penalty
                             penalty ofof perjury
                                            perjury must
                                                     must contain
                                                          contain the
                                                                  the
statement below
statement   below in
                   in substantially
                      substantially the
                                    the following
                                         following form:
                                                   form:                   _________________________________
My full
My        name is
     full name is _____________________________________                    Declarant/Authorized Process
                                                                           Declarant/Authorized         Server
                                                                                                Process Server
My date
My     date of
             of birth
                  birth is
                         is ___/___/____,
                                  /    /         and my
                                              , and    my address   is
                                                                  _________________________________
                                                           address is
_____________________________________________________.            ID# &
                                                                  ID# & Exp.
                                                                        Exp. Of
                                                                             Of Certification
                                                                                Certification
II DECLARE
   DECLARE UNDER
               UNDER PENALTY
                           PENALTY OF  OF PERJURY     THAT THE
                                           PERJURY THAT     THE
FOREGOING
 FOREGOING IS   IS TRUE
                   TRUE ANDAND CORRECT
                                CORRECT                           SWORN AND
                                                                  SWORN   AND SUBSCRIBED
                                                                                SUBSCRIBED ON ON
Executed in
Executed   in___________________,, County,   State of
                                     County, State of __________,
on the
on  the _____day  of ________________,, 20
             day of                     20____..                  ________________________________
                                                                  DATE
                                                                  DATE
___________________________________
Declarant/Authorized
Declarant/Authorized Process
                        Process Server
                                Server
___________________________
ID#
 ID# &  Exp. Of
      & Exp. Of Certification
                 Certification                                    ________________________________
                                                                  NOTARY
                                                                  NOTARY




                                                                                              EXHIBIT A
                                                                                              EXHIBIT A
Case 1:22-cv-00432-MAC Document 1-1 Filed 09/02/22 Page 12 of 15 PageID
                                                                  Received#:
                                                                           and21
                                                                               E-Filed for Record
                                                                                                    8/12/2022 12:02 PM
                                                                                              Melisa Miller, District Clerk
                                                                                             Montgomery County, Texas
                                                                                               Deputy Clerk, Kori Rauen

                                     CAUSE NO. 22-07-08577

DARWIN DURISSEAU                                    §
                                                    §
PLAINTIFF                                           §
                                                    §
                                                    §
                                                    §
VS.                                                 §     IN THE 284TH JUDICIAL DISTRICT COURT
                                                    §
                                                    §
                                                    §
UNION TANK CAR COMPANY                                                  MONTGOMERY COUNTY, TX
                                                    §
                                                    §
DEFENDANT
                                                    §
                                                    §
                                                    §
                                                    §
                                                    §
                                                    §
                                                    §
                                                    §

                                       RETURN OF SERVICE

ON Friday, August 12, 2022 AT 8:57 AM
CITATION, PLAINTIFF'S ORIGINAL PETITION for service on Union Tank Car Company c/o Registered
Agent United States Corporation Co came to hand.

ON Friday, August 12, 2022 AT 10:35 AM, I,    I, Adriana Nicole Adam, PERSONALLY
DELIVERED THE ABOVE-NAMED DOCUMENTS TO: Union Tank Car Company c/o Registered
Agent United States Corporation Co, by delivering to Kaneisha Gross, 211
                                                                     211 East 7th Street ste 620,
AUSTIN, TRAVIS COUNTY, TX 78701.

My name is Adriana Nicole Adam. My address is 12011201 Louisiana, Suite 370, Houston, TX 77002. II
am a private process server certified by the Texas Judicial Branch Certification Commission (PSC
17714, expires 10/31/2023). My e-mail address is info@easy-serve.com. My date of birth is
3/30/1992. II am in all ways competent to make this statement, and this statement is based on
personal knowledge. II am not a party to this case and have no interest in its outcome. II declare
under penalty of perjury that the foregoing is true and correct.

Executed in TRAVIS COUNTY, TX on Friday, August 12, 2022.

/S/ Adriana Nicole Adam




 363793.

Doc ID: 299326_1




                                                                                 EXHIBIT A
                                                                                 EXHIBIT A
       Case 1:22-cv-00432-MAC Document 1-1 Filed 09/02/22 Page 13 of 15 PageID #: 22

                                                                 CITATION
                                                                 CITATION
Cause Number: 22-07-08577
Cause Number: 22-07-08577

Clerk of the
Clerk of     Court
         the Court                                                                  Attorney Requesting
                                                                                    Attorney             Service
                                                                                             Requesting Service
Melisa
Melisa Miller
       Miller                                                                       Jason A.
                                                                                    Jason A. Itkin
                                                                                             Itkin
P.O.
P.O. Box  2985
     Box 2985                                                                       6009 Memorial
                                                                                    6009 Memorial DrDr
Conroe,  Texas 77305
Conroe, Texas  77305                                                                Houston TX
                                                                                    Houston   TX 77007
                                                                                                   77007
                                             THE STATE
                                             THE STATE OF TEXAS
                                                       OF TEXAS
NOTICE TO
NOTICE       TO DEFENDANT:
                 DEFENDANT: You     You have
                                         have been    sued. You
                                              been sued.    You may     employ an
                                                                  may employ     an attorney.
                                                                                    attorney. If  you or
                                                                                               If you  or your
                                                                                                          your attorney
                                                                                                                attorney
do not
do  not file a written
        file a written answer   with the
                       answer with       clerk who
                                     the clerk who issued
                                                      issued this
                                                              this citation
                                                                   citation by  10:00 a.m.
                                                                            by 10:00        on the
                                                                                      a.m. on  the Monday
                                                                                                    Monday next
                                                                                                              next
following the
following       expiration of
            the expiration  of twenty
                               twenty days
                                       days after  you were
                                            after you   were served
                                                              served this  citation and
                                                                      this citation       petition, aa default
                                                                                     and petition,     default judgment
                                                                                                               judgment
may
may be
     be taken   against you.
         taken against   you. In  addition to
                               In addition to filing
                                              filing aa written
                                                        written answer    with the
                                                                 answer with        clerk, you
                                                                               the clerk,  you may
                                                                                                may be   required to
                                                                                                      be required  to
make   initial disclosures
make initial   disclosures to
                            to the other parties
                               the other parties of
                                                  of this suit. These
                                                     this suit. These disclosures
                                                                        disclosures generally
                                                                                     generally must
                                                                                                must be    made no
                                                                                                        be made      later
                                                                                                                  no later
than  30 days
than 30  days after  you file
               after you file your
                              your answer
                                    answer with
                                            with the
                                                  the clerk.
                                                       clerk. Find  out more
                                                              Find out         at TexasLawHelp.org.
                                                                         more at  TexasLawHelp.org.

To:
To:     Union Tank
        Union  Tank Car
                     Car Company
                         Company
        Registered  Agent United
        Registered Agent  United States
                                 States Corporation
                                        Corporation Co
                                                    Co
        211 E
        211 E 7th
              7th Street
                  Street
        Suite 620
        Suite 620
        Austin TX
        Austin TX 78701
                    78701


The attached
The  attached Plaintiff's  Original Petition
               Plaintiff's Original          was filed
                                    Petition was       on the
                                                 filed on       5th day
                                                          the 5th       of July,
                                                                    day of July, 2022,
                                                                                 2022, in
                                                                                       in 284th
                                                                                          284th Judicial
                                                                                                Judicial District
                                                                                                         District
Court,  located at
Court, located  at the
                   the Montgomery
                       Montgomery County      Courthouse in
                                     County Courthouse     in Conroe,   Texas, numbered
                                                              Conroe, Texas,                22-07-08577, and
                                                                               numbered 22-07-08577,     and
includes the
includes      following parties:
          the following  parties: Darwin
                                  Darwin Durisseau,
                                          Durisseau, plaintiff(s),
                                                      plaintiff(s), and
                                                                    and Union
                                                                        Union Tank
                                                                               Tank Car    Company,
                                                                                      Car Company,
defendant(s).
defendant(s).

Issued
Issued and given under
       and given under my hand and
                       my hand and seal
                                   seal of
                                        of said
                                           said Court
                                                Court at
                                                      at Conroe, Texas on
                                                         Conroe, Texas on this
                                                                          this the
                                                                               the 7th day of
                                                                                   7th day of July,
                                                                                              July, 2022.
                                                                                                    2022.

                                       o w      iii,1
                                  ,,\0 40NTG
                                          • • • .04,7
                                                  . 46.1//                               Melisa Miller, District
                                                                                         Melisa Miller, District Clerk
                                                                                                                 Clerk
                                   O. • .             . J.. 1;.                          Montgomery
                                                                                         Montgomery County,      Texas
                                                                                                       County Texas

                              =0. -•
                              ::: •
                                                        .. (II:..
                                                          •0C ::         ••              By:_____________________________________
                                                                                         By:
                                                                                         Delcy
                                                                                                       C
                                                                                               Parker, Deputy
                               -.::. t- •                                : -I.:          Delcy Parker,   -puty
                                                                                                                   71712022 9:01:49 AM
                                 ..: 0 .                      •   • ely***/ ...
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                                                                                                              EXHIBIT A
                                                                                                              EXHIBIT A
Case 1:22-cv-00432-MAC Document 1-1 Filed 09/02/22 Page 14 of 15 PageID  #: AND
                                                                  RECEIVED   23 FILED
                                                                                         FOR RECORD
                                                                                      09/01/2022 10:18 AM
                                                                                    Melisa Miller, District Clerk
                                                                                    Montgomery County, Texas
                                     CAUSE NO.
                                     CAUSE NO. 22-07-08577
                                               22-07-08577


DARWIN DURISSEAU
DARWIN DURISSEAU                                 §§             IN THE
                                                                IN     DISTRICT COURT
                                                                   THE DISTRICT COURT OF
                                                                                      OF
                                                 §§
vs.
vs.                                              §§        MONTGOMERY COUNTY,
                                                           MONTGOMERY COUNTY, TEXAS
                                                                              TEXAS
                                                 §§
UNION TANK CAR
UNION TANK CAR COMPANY
               COMPANY                           §§                 284 TH JUDICIAL
                                                                    284TH  JUDICIAL DISTRICT
                                                                                    DISTRICT


                             SHOW CAUSE
                             SHOW CAUSE ORDER
                                         ORDER
            (COURT’S MOTION
            (COURT'S MOTION TO
                            TO DISMISS
                               DISMISS FOR
                                       FOR WANT
                                           WANT OF
                                                OF PROSECUTION)
                                                   PROSECUTION)

      The Court takes
      The Court takes judicial
                      judicial notice
                               notice that
                                      that this
                                           this case was filed
                                                case was       on July
                                                         filed on July 05, 2022. All
                                                                       05, 2022. All parties
                                                                                     parties seeking
                                                                                             seeking

affirmative relief
affirmative relief are
                   are ordered
                       ordered to
                               to appear
                                  appear before
                                         before this
                                                this Court
                                                     Court on
                                                           on 09/16/2022 at 1:30
                                                              09/16/2022 at 1:30 PM to show
                                                                                 PM to show

cause why
cause why this
          this case
               case should not be
                    should not be dismissed
                                  dismissed for want of
                                            for want of prosecution.
                                                        prosecution.

         Failure to
         Failure to appear
                    appear and
                           and show
                               show good
                                    good cause why this
                                         cause why this case
                                                        case should not be
                                                             should not be dismissed for want
                                                                           dismissed for want of
                                                                                              of

prosecution will
prosecution will result
                 result in dismissal by
                        in dismissal by the
                                        the Court
                                            Court and
                                                  and removal from the
                                                      removal from the docket
                                                                       docket of
                                                                              of this
                                                                                 this

Court.
Court.

                 Signed
                 Signed September
                        September 01, 2022
                                  01, 2022



                                                      __________________________________
                                                       Kristin Bays,
                                                       Kristin Bays, Presiding
                                                                     Presiding Judge
                                                                               Judge


Sent to: jitkin@arnolditkin.com;
Sent to: jitkin@arnolditkin.com; tshelton@ArnoldItkin.com
                                 tshelton@ArnoldItkin.com




                                                                               EXHIBIT A
                                                                               EXHIBIT A
                                                                                                                       RECEIVED AND FILED
         Case 1:22-cv-00432-MAC Document 1-1 Filed 09/02/22 Page 15 of 15 PageID #: 24
                                                                           FOR RECORD
                                                                                                                       09/01/2022 10:19 AM
                                                                                                                     Melisa Miller, District Clerk
Park, Amber
Park, Amber                                                                                                          Montgomery County, Texas

From:
From:                                     Park, Amber
                                          Park, Amber
Sent:
Sent                                      Thursday, September
                                          Thursday, September 1,   2022 10:19
                                                                1, 2022       AM
                                                                        10:19 AM
To:
To:                                       jitkin@arnolditkin.com; tshelton@Arnoldltkin.com
                                          jitkin@arnolditkin.com; tshelton@ArnoldItkin.com
Subject:
Subject:                                  22-07-08577; Durisseau
                                          22-07-08577;  Durisseau v.
                                                                   v. Union
                                                                      Union Tank
                                                                            Tank Car Company
                                                                                 Car Company
Attachments:
Attachments:                              Show Cause
                                          Show   Cause Order.pdf
                                                       Order.pdf


Counsel,
Counsel,

Please see
Please see the
           the attached
               attached Show
                        Show Cause
                             Cause Order.
                                   Order.

Thank you,
Thank you,


Amber D. Park
Court Administrator
Court    Administrator
284  th Judicial District
284th Judicial             Court
                  District Court
Judge Kristin
Judge    Kristin Bays,
                  Bays, Presiding
                        Presiding
301 N. Main, Suite 201
301                201
Conroe, Texas 77301
Direct: (936) 539-7861
Fax: (936) 538-3572

Electronic filing
Electronic  filing is
                   is now
                      now mandatory
                            mandatory for for attorneys
                                              attorneys filing
                                                        filing documents
                                                               documents inin civil  cases, including
                                                                               civil cases, including family
                                                                                                      family and    probate cases,
                                                                                                              and probate             in the
                                                                                                                              cases, in   the district
                                                                                                                                               district
and statutory
and  statutory county
                  county courts   in Montgomery
                           courts in  Montgomery County
                                                     County under
                                                             under the
                                                                   the Supreme
                                                                       Supreme Court's
                                                                                     Court’s Order
                                                                                             Order Requiring
                                                                                                    Requiring Electronic
                                                                                                                 Electronic Filing
                                                                                                                            Filing in
                                                                                                                                   in Certain
                                                                                                                                       Certain Courts
                                                                                                                                                 Courts
(Misc. Docket
(Misc. Docket No. No. 13-9164).
                      13-9164). For
                                  For further
                                       further information,
                                                information, please
                                                              please see
                                                                     see Tex.
                                                                         Tex. R.R. Civ.
                                                                                   Civ. P.
                                                                                        P. 21(f)
                                                                                           21(f) and
                                                                                                 and visit
                                                                                                     visit www.efileTexas.gov.
                                                                                                           www.efileTexas.gov. Every Every pleading,
                                                                                                                                            pleading,
whether signed
whether   signed by by aa party
                          party or
                                 or the
                                    the party's
                                        party’s attorney,
                                                 attorney, and
                                                            and whether
                                                                whether filed
                                                                         filed electronically
                                                                                electronically oror not,
                                                                                                    not, must
                                                                                                         must contain    the signer's
                                                                                                               contain the   signer’s email
                                                                                                                                        email
address. See
address.  See Tex.
                Tex. R.
                      R. Civ.
                         Civ. P.
                              P. 21(f)(2)
                                 21(f)(2) and
                                           and 57.
                                               57. Please
                                                   Please remember
                                                           remember that
                                                                      that if
                                                                            if you
                                                                               you correspond     with any
                                                                                    correspond with         member of
                                                                                                       any member      of the
                                                                                                                          the Court's
                                                                                                                              Court’s staff
                                                                                                                                         staff
concerning
concerning a  a case  pending before
                 case pending    before the
                                         the Court,
                                              Court, you
                                                     you must
                                                         must send
                                                                send copies
                                                                     copies ofof your
                                                                                 your correspondence
                                                                                       correspondence to  to all
                                                                                                             all other  parties or
                                                                                                                 other parties   or to
                                                                                                                                    to their
                                                                                                                                        their
attorneys of
attorneys       record.
           of record.

This transmission
This transmission isis intended
                       intended for
                                  for the
                                      the sole
                                           sole use
                                                 use of
                                                     of the
                                                        the individual
                                                            individual and/or
                                                                        and/or entity
                                                                                 entity to
                                                                                         to whom
                                                                                            whom itit is
                                                                                                      is addressed,
                                                                                                         addressed, and
                                                                                                                      and may
                                                                                                                           may contain
                                                                                                                                contain
information and/or
information   and/or attachments
                       attachments that
                                      that are   privileged, confidential
                                            are privileged,  confidential and   exempt from
                                                                           and exempt     from disclosure     under applicable
                                                                                                disclosure under     applicable law.
                                                                                                                                law. If
                                                                                                                                      If the
                                                                                                                                         the reader
                                                                                                                                             reader
of this
of this transmission
        transmission isis not
                          not the
                              the intended
                                   intended recipient,
                                              recipient, you
                                                          you are
                                                              are hereby
                                                                    hereby notified
                                                                           notified that
                                                                                      that any disclosure, dissemination,
                                                                                           any disclosure,                    distribution,
                                                                                                              dissemination, distribution,
duplication  or the
duplication or   the taking
                     taking of
                             of any
                                any action
                                     action in
                                             in reliance
                                                reliance on
                                                          on the
                                                             the contents
                                                                  contents of  this transmission
                                                                            of this transmission byby someone
                                                                                                        someone other     than the
                                                                                                                   other than  the intended
                                                                                                                                    intended
addressee or
addressee   or its
               its designated   agent is
                   designated agent    is strictly
                                          strictly prohibited.
                                                   prohibited. If
                                                                If your
                                                                   your receipt
                                                                        receipt of
                                                                                 of this
                                                                                    this transmission
                                                                                         transmission is is in
                                                                                                            in error, please notify
                                                                                                               error, please notify the
                                                                                                                                     the sender
                                                                                                                                          sender by
                                                                                                                                                 by
replying immediately
replying  immediately to to this
                            this transmission
                                 transmission andand destroy
                                                      destroy the
                                                               the transmission.
                                                                    transmission. Thank
                                                                                    Thank you.
                                                                                            you.




                                                                           1
                                                                           1

                                                                                                                  EXHIBIT A
                                                                                                                  EXHIBIT A
